132 F.3d 299
    Lawrence DELISLE, Petitioner-Appellant,v.Jessie RIVERS, Warden, Respondent-Appellee.
    No. 96-1198.
    United States Court of Appeals,Sixth Circuit.
    Feb. 11, 1998.
    
      Before:  MARTIN, Chief Judge;  MERRITT, KENNEDY, NELSON, RYAN, BOGGS, NORRIS , SUHRHEINRICH, SILER, BATCHELDER, DAUGHTREY, MOORE, COLE, CLAY and GILMAN, Circuit Judges.
    
    ORDER
    
      1
      A majority of the Judges of this Court in regular active service have voted for rehearing of this case en banc.  Sixth Circuit Rule 14 provides as follows:
    
    
      2
      The effect of the granting rehearing en banc shall be to vacate the previous opinion and judgment of this court, to stay the mandate and to restore the case on the docket as a pending appeal.
    
    
      3
      Accordingly, it is ORDERED that the previous judgment of this court is vacated, the mandate is stayed and this case is restored to the docket as a pending appeal.
    
    
      4
      It is further ORDERED that the appellant file a supplemental brief not later than Friday, March 13, 1998, and the appellee file a supplemental brief not later than Monday, April 13, 1998.
    
    
      5
      The Clerk will advise the parties once the court has established the date and time of reargument.
    
    